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                                             2474
                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                            No: 22-2495

  State of Missouri, ex rel. Eric Stephen Schmitt, in his official capacity as Missouri Attorney
                                             General

                                                       Appellant

                                                  v.

                               The Peoples Republic of China, et al.

                                                       Appellees

                                     ------------------------------

                           The Lawyers for Upholding International Law

                                                  Amicus Curiae

                           The China Society of Private International Law

                                        Amicus on Behalf of Appellee(s)

______________________________________________________________________________

     Appeal from U.S. District Court for the Eastern District of Missouri - Cape Girardeau
                                   (1:20-cv-00099-SNLJ)
______________________________________________________________________________

                                            MANDATE

       In accordance with the opinion and judgment of January 10, 2024, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                        February 01, 2024




Clerk, U.S. Court of Appeals, Eighth Circuit


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